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 1                                UNITED STATES DISTRICT COURT
 2
                                         DISTRICT OF NEVADA
 3                                               ***

 4   UNITED STATES OF AMERICA,       )
                                     )
 5
                     Plaintiff,      )                     2:11-cr-0434-LDG-PAL
 6                                   )
     v.                              )
 7                                   )
     MICHAEL VALES,                  )
 8                                   )
 9                   Defendants.     )
     ________________________________)
10
                                                   ORDER
11
12           IT IS HEREBY ORDERED: That Michael Vales LV allowed to travel to Industry

13   City, California on September 14 through September 17, 2012. 'HIHQGDQW0LFKDHO

149DOHVLVUHTXLUHGWRFRPSO\ZLWKFRQGLWLRQVVHWIRUWKE\3UHWULDO6HUYLFHVDQGVKDOOSURYLGH
15DQ\DQGDOOLQIRUPDWLRQ3UHWULDO6HUYLFHVPD\UHTXLUHGXULQJWKHGHVLJQDWHGWUDYHOSHULRG
16
     DATED this WKday of September, 2012.
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18
19                                                         ______________________________
                                                           86MAGISTRATE JUDGE
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